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                                                         HONORABLE RICHARD A. JONES
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 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE

 8
       UNITED STATES OF AMERICA,                       No. CR 20-167-RAJ
 9
                                       Plaintiff,      ORDER GRANTING MOTION
10                                                     TO SEAL SUPPLEMENTAL
       v.                                              MEMORANDUM ON DETENTION
11                                                     HEARING AND EXHIBITS
       GYEONG JEI LEE,
12
                                       Defendant.
13

14          THIS MATTER has come before the undersigned on the motion of defendant,
     GYEONG JEI LEE, for an order that his Supplemental Memorandum on Detention Hearing
15
     and accompanying Exhibits 7-10 be filed under seal and secured from public access until
16   further order by the Court. Finding good cause,
17          IT IS HEREBY ORDERED that Defendant’s Motion to Seal (Dkt. #31) is
     GRANTED.
18
            DATED this 20th day of October, 2020.
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                                                          A
                                                          The Honorable Richard A. Jones
22                                                        United States District Judge

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     ORDER GRANTING MOTION TO SEAL - 1
